                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  GREENEVILLE

 KATERI LYNEE DAHL,               ]
                                  ]
       Plaintiff,                 ]
                                  ]
 v.                               ]            No. 2:22-cv-00072-KAC-CRW
                                  ]
 CHIEF KARL TURNER, and           ]
 CITY OF JOHNSON CITY, TENNESSEE, ]
                                  ]
       Defendants.                ]

                        SEE NOTICE OF MANUAL FILING –
                      RECORDING OF MAY 19, 2021 MEETING

        Marked thumb drive containing audio recording of May 19, 2021 Meeting, filed by

 Johnson City.




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